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UNITED STATES OF AMERICA §
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v. § CRIMINAL NO.
: |
ROBERTO ENRIQUE RINCON- 8
FERNANDEZ, §
ABRAHAM JOSE SHIERA- § 1 5 CR 654
BASTIDAS § ,
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

(Conspiracy — 18 U.S.C. § 371)
Introduction

At all relevant times, unless otherwise specified:

1. The Foreign Corrupt Practices Act of 1977 (“FCPA”), as amended,
Title 15, United States Code, Sections 78dd-1, et seg., was enacted by Congress for
the purpose of, among other things, making it unlawful to act corruptly in
furtherance of an offer, promise, authorization, or payment of money or anything
of value, directly or indirectly, to a foreign official for the purpose of obtaining or
retaining business for, or directing business to, any person.

2. Petroleos de Venezuela S.A. (““PDVSA”) was the Venezuelan state-

owned and state-controlled oil company. PDVSA and its subsidiaries and affiliates
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were responsible for the exploration, production, refining, transportation, and trade
in energy resources in Venezuela and provided funding for other operations of the
Venezuelan government. PDVSA Services, Inc. was the U.S.-based affiliate of
PDVSA located in Houston, Texas, that, at various times, was responsible for
international purchasing on behalf of PDVSA. Bariven S.A. was the PDVSA
procurement subsidiary responsible for equipment purchases. PDVSA and its
wholly owned subsidiaries, including PDVSA Services, Inc. and Bariven S.A.,
(hereinafter collectively referred to as “PDVSA”) were “instrumentalities” of the
Venezuelan government as that term is used in the FCPA, Title 15, United States
Code, Section 78dd-2(h)(2)(A). PDVSA officers and employees were “foreign
officials” as that term is used in the FCPA, Title 15, United States Code, Sections
78dd-2(h)(2)(A) and 78dd-3(f)(2)(A).

3. PDVSA awarded contracts for energy services and equipment in a
number of ways, including through a competitive bidding process. One such
competitive bidding process began with a PDVSA purchasing analyst assembling a
bidding panel, which identified those companies that would be invited to submit
bids in connection for a particular project. PDVSA would then issue a request for
quotation to the companies included on the bidding panel and those companies

would in turn submit formal bids, from which a winner would be selected.
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PDVSA also awarded sole source contracts, which were not subject to a

competitive bidding process.

The Defendants and Their Co-Conspirators

4. Defendant ROBERTO ENRIQUE RINCON FERNANDEZ
(“RINCON”) was a U.S. lawful permanent resident and a resident of Texas, and
controlled, together with others, a number of closely held companies, including
several U.S. companies, many of which were based in the Southern District of
Texas, that RINCON used to secure contracts with PDVSA. RINCON was thus a
“domestic concern” and an officer, director, employee, agent, and shareholder of a
“domestic concern” as those terms are used in the FCPA, Title 15, United States
Code, Section 78dd-2(h)(1).

5. Defendant ABRAHAM JOSE SHIERA BASTIDAS (“SHIERA”)
was a Venezuelan national who resided in Florida, and controlled, together with
others, a number of closely held companies, including several U.S. companies, that
SHIERA used to secure contracts with PDVSA. SHIERA was thus a “domestic
concern” and an officer, director, employee, agent, and shareholder of a “domestic
concern” as those terms are used in the FCPA, Title 15, United States Code,
Section 78dd-2(h)(1). RINCON and SHIERA worked together on a number of

PDVSA contracts and contract bids.
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6. “Rincon Company 1,” a company whose identity is known to the
Grand Jury, was organized under the laws of Texas and headquartered in the
Southern District of Texas. Rincon Company 1 was thus a “domestic concern” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Rincon Company 1 was controlled by RINCON and used by RINCON to secure
contracts with PDVSA.

7. “Rincon Company 2,” a company whose identity is known to the
Grand Jury, was organized under the laws of Texas and headquartered in the
Southern District of Texas. Rincon Company 2 was thus a “domestic concern” as
that term is used in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Rincon Company 2 was controlled by RINCON and used by RINCON to secure
contracts with PDVSA.

8. “Rincon Company 3,” a company whose identity is known to the
Grand Jury, was organized under the laws of Florida and headquartered in Florida.
Rincon Company 3 was thus a “domestic concern” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(h)(1). Rincon Company 3
was controlled by RINCON and used by RINCON to secure contracts with

PDVSA.
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9. “Rincon Company 4,” a company whose identity is known to the
Grand Jury, was controlled by RINCON and used by RINCON to secure contracts
with PDVSA.

10.  “Shiera Company 1,” a company whose identity is known to the
Grand Jury, was organized under the laws of Florida and headquartered in Florida.
Shiera Company | was thus a “domestic concern” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(h)(1). Shiera Company 1 was
controlled by SHIERA and used by SHIERA to secure contracts with PDVSA.

11. “Shiera Company 2,” a company whose identity is known to the
Grand Jury, was organized under the laws of Florida and headquartered in Florida.
Shiera Company 2 was thus a “domestic concern” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(h)(1). Shiera Company 2 was
controlled by SHIERA and used by SHIERA to secure contracts with PDVSA.

12. “Shiera Company 3,” a company whose identity is known to the
Grand Jury, was organized under the laws of Florida and headquartered in Florida.
Shiera Company 3 was thus a “domestic concern” as that term is used in the
FCPA, Title 15, United States Code, Section 78dd-2(h)(1). Shiera Company 3 was

controlled by SHIERA and used by SHIERA to secure contracts with PDVSA.
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13. “Shiera Company 4,” a company whose identity is known to the
Grand Jury, was controlled by SHIERA and used by SHIERA to secure contracts
with PDVSA.

14. “Shiera Company 5,” a company whose identity is known to the
Grand Jury, was controlled by SHIERA and used by SHIERA to secure contracts
with PDVSA.

15. “Shiera Company 6,” a company whose identity is known to the
Grand Jury, was controlled by SHIERA and used by SHIERA to secure contracts
with PDVSA.

16. “Associate 1,” an individual whose identity is known to the Grand
Jury, was a U.S. lawful permanent resident and a resident of Texas and a relative
of RINCON, who controlled, along with RINCON, several of the U.S. companies
controlled by RINCON. Associate 1 was thus a “domestic concern” and an
officer, director, employee, agent, and shareholder of a “domestic concern” as
those terms are used in the FCPA, Title 15, United States Code, Section 78dd-
2(h)(1).

17. “Associate 2,” an individual whose identity is known to the Grand
Jury, was a Venezuelan national who maintained a residence in Texas, and was
employed by, or worked as an independent contractor for, SHTIERA and assisted

both RINCON and SHIERA in their business operations, including by assisting
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RINCON and SHIERA and their companies, including their U.S.-based
companies, secure contracts with PDVSA. Thus, Associate 2 was an agent of a
“domestic concern” as that term is used in the FCPA, Title 15, United States Code,

Section 78dd-2(h)(1).
The Foreign Officials

18. “Official A,” an individual whose identity is known to the Grand Jury,
was at all relevant times employed by PDVSA, including as a buyer at PDVSA and
a supervisor of other PDVSA buyers. Official A’s job responsibilities included
assigning bidding panels to PDVSA buyers, including Official C and Official D,
who would then be responsible for selecting companies for the bidding panels,
which allowed those companies to submit bids on individual PDVSA projects.

19. “Official B,” an individual whose identity is known to the Grand Jury,
was at all relevant times employed by PDVSA, including as a purchasing analyst
for PDVSA. Official B’s job responsibilities included selecting companies for
bidding panels, which allowed those companies to submit bids on individual
PDVSA projects.

20. “Official C,” an individual whose identity is known to the Grand Jury,
was at all relevant times employed by PDVSA, including as a purchasing manager
and superintendent of purchasing at PDVSA. Official C’s job responsibilities

included selecting companies for bidding panels, which allowed those companies
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to submit bids on individual PDVSA projects, and selecting which companies
would win the economic portion of the bid process.

21. “Official D,” an individual whose identity is known to the Grand Jury,
was at all relevant times employed by PDVSA, including as a buyer for PDVSA.
Official D’s job responsibilities included selecting companies for bidding panels,
which allowed those companies to submit bids on individual PDVSA projects.

22. “Official E,” an individual whose identity is known to the Grand Jury,
was at all relevant times employed by PDVSA, including as a purchasing manager
at PDVSA. Official E’s job responsibilities included selecting companies for
bidding panels, which allowed those companies to submit bids on individual
PDVSA projects.

23. Official A, Official B, Official C, Official D, and Official E were each
a “foreign official” as that term is used in the FCPA, Title 15, United States Code,

Sections 78dd-2(h)(2)(A) and 78dd-3(£)(2)(A).
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The Conspiracy

24. Beginning in at least 2009 and continuing through at least 2014, in the

Southern District of Texas, and elsewhere, the defendants,

ROBERTO ENRIQUE RINCON FERNANDEZ
and
ABRAHAM JOSE SHIERA BASTIDAS
did willfully and knowingly conspire, confederate, and agree with each other and

others known and unknown to the Grand Jury to commit offenses against the

United States, that is:

a. to willfully make use of the mails and means and instrumentalities of
interstate commerce corruptly in furtherance of an offer, payment,
promise to pay, and authorization of the payment of any money, offer,
gift, promise to give, and authorization of the giving of anything of value
to a foreign official and to a person, while knowing that all and a portion
of such money and thing of value would be and had been offered, given,
and promised to a foreign official, for purposes of: (i) influencing acts
and decisions of such foreign official in his official capacity; (ii) inducing
such foreign official to do and omit to do acts in violation of the lawful
duty of such official; (iii) securing an improper advantage; and (iv)

inducing such foreign official to use his influence with a foreign
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government and agencies and instrumentalities thereof to affect and
influence acts and decisions of such government and agencies and
instrumentalities, in order to assist RINCON, SHIERA, and their U.S.
companies in obtaining and retaining business for and with, and directing
business to, RINCON, SHIERA, their companies, and others, in
violation of the Foreign Corrupt Practices Act, Title 15, United States
Code, Section 78dd-2(a);

b. while in the territory of the United States, willfully and corruptly to make
use of the mails and means and instrumentalities of interstate commerce
and to do any other act in furtherance of an offer, payment, promise to
pay, and authorization of the payment of any money, offer, gift, promise
to give, and authorization of the giving of anything of value to a foreign
official and to a person, while knowing that all and a portion of such
money and thing of value would be and had been offered, given, and
promised to a foreign official, for purposes of: (i) influencing acts and
decisions of such foreign official in his or her official capacity; (ii)
inducing such foreign official to do and omit to do acts in violation of the
lawful duty of such official; (iii) securing an improper advantage; and
(iv) inducing such foreign official to use his or her influence with a

foreign government and agencies and instrumentalities thereof to affect

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and influence acts and decisions of such government and agencies and
instrumentalities, in order to assist RINCON, SHIERA, and their U.S.
companies in obtaining and retaining business for and with, and directing
business to, RINCON, SHIERA, their companies, and others, in
violation of Title 15, United States Code, Section 78dd-3(a); and

c. to devise and intend to devise a scheme or artifice to defraud PDVSA and
energy companies that could have performed services for PDVSA, and
for obtaining money and property from PDVSA and energy companies
that could have performed services for PDVSA by means of materially
false and fraudulent pretenses, representations, and promises, and to
transmit and cause to be transmitted, by means of wire communication in
interstate and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice in violation

of Title 18, United States Code, Section 1343.

Purpose of the Conspiracy

25. The purpose of the conspiracy was for RINCON, SHIERA, and their
co-conspirators, to enrich themselves by obtaining and retaining lucrative energy
contracts with PDVSA through corrupt and fraudulent means, including by paying

bribes to PDVSA officials.

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Manner and Means of the Conspiracy

26. The manner and means by which RINCON and SHIERA and their
co-conspirators sought to accomplish the purpose of the conspiracy included,
among other things, the following, while in the Southern District of Texas and
elsewhere:

27. RINCON and SHIERA, together with others, discussed how they
would obtain and retain contracts with PDVSA by providing things of value to
PDVSA officials.

28. RINCON and SHIERA, together with others, paid bribes to PDVSA
officials through the use of interstate and foreign wires in order to influence acts
and decisions of the PDVSA officials in their official capacities and to induce the
PDVSA officials to do and omit to do certain acts, including, but not limited to:

a. assisting RINCON’s and SHIERA’s companies in winning PDVSA

contracts;

b. providing RINCON and SHIERA with inside information concerning

the PDVSA bidding process;

c. placing one or more of RINCON’s and SHIERA’s companies on certain

bidding panels for PDVSA projects;

d. helping to conceal the fact that RINCON and SHIERA controlled more

than one of the companies on certain bidding panels for PDVSA projects;

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e. supporting RINCON’s and SHIERA’s companies before an internal
PDVSA purchasing committee;

f. preventing interference with the selection of RINCON’s and SHIERA’s
companies for PDVSA contracts;

g. updating and modifying contract documents, including change orders to
PDVSA contracts awarded to RINCON’s and SHIERA’s companies;

h. assisting RINCON’s and SHIERA’s companies in receiving payment
for previously awarded PDVSA contracts, including by requesting
payment priority for projects involving RINCON’s and SHIERA’s
companies.

29. RINCON and SHIERA, together with others, caused bribe payments
to be wired from the bank accounts of RINCON, RINCON’s companies, and
SHIERA’s companies to the bank accounts of PDVSA officials, their relatives, or
other individuals or entities designated by the PDVSA officials who received the
bribes.

30. In addition to monetary bribes, RINCON and SHIERA, together with
others, bribed PDVSA officials by providing things of value, including recreational
travel, meals, and entertainment, in order to obtain and retain business on behalf of

RINCON’s and SHIERA’s companies.

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31. RINCON and SHIERA, together with others, referred to the PDVSA
officials who were assisting them in obtaining and retaining contracts with PDVSA
in exchange for bribes as “aliados,” which translates into English as “allies” or
“allieds.”

32. RINCON and SHIERA, together with others, provided to certain
PDVSA officials who were receiving bribes proposed bidding panel lists that
would include more than one company controlled by RINCON or SHIERA to
create the false appearance that the bidding process was competitive.

33. RINCON and SHIERA, together with others, relayed to certain
PDVSA officials who were receiving bribes instructions as to which company
among the proposed bidding panel the officials should select as the winning bidder.

34. RINCON and SHIERA, together with others, kept track of the
amounts owed and paid to each PDVSA official based on the contracts that the
PDVSA official had helped to award to one or more of RINCON’s and
SHIERA’s companies.

35. RINCON and SHIERA, together with others, attempted to conceal
the fact that they controlled multiple companies contained on the proposed bidding
panel lists provided to certain PDVSA officials who were receiving bribes,

including by appointing nominal owners or managers for those companies.

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36. RINCON and SHIERA, together with others, attempted to conceal
the bribes to certain PDVSA officials, which they referred to as “commissions,” by
creating false justifications for the bribes, including requesting or receiving
invoices for equipment that was not provided and services that were never

rendered in order to disguise the bribe payments to the PDVSA officials.
Overt Acts

37. In furtherance of the conspiracy and to achieve the objects thereof, at
least one of the co-conspirators committed or caused to be committed, in the
Southern District of Texas and elsewhere, at least one of the following overt acts,
among others:

38. In or around October 2009, RINCON and SHIERA reached an
agreement to work together to pay bribes to PDVSA officials in order to secure
lucrative energy contracts from PDVSA for RINCON’s and SHIERA’s
companies.

39. Onor about October 8, 2009, Associate 2 sent an e-mail to other
associates of SHIERA referring to a matrix “Roberto” [RINCON] had drafted in
connection with PDVSA bidding.

40. Onor about October 22, 2009, Associate 2 sent Official C an e-mail
in Spanish explaining the strategy for the PDVSA bidding process as it related to

companies owned by SHIERA, stating that for instances where Shiera Company 1
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would be invited to submit bids, Associate 2 and Official C needed to first ensure
that Shiera Company | would meet certain conditions and that Official C would be
the PDVSA buyer responsible for assembling the panel, and that, as translated into
English, “If that is the case, tell me so Ican send you a panel of companies that I
know will not make an offer, or they will make offers higher than ours. It is
indispensable to have the complete description of the request to seek out pricing
beforehand. When starting the process, it is also indispensable that you require a
short submission offer timeframe (3days). Well buddy, I believe that if we follow
these strategies, that shit is ours.”

4]. Inor around early 2010, Associate 2 helped Official B to open a bank
account in Panama, in order to receive bribe payments outside Venezuela.

42. Onor about April 9, 2010, RINCON caused $100,000 to be
transferred from a bank account in the United States in the name of one of
RINCON’s companies to Official B’s bank account in Panama.

43. Onor about April 12, 2010, RINCON caused $164,570.23 to be
transferred from a bank account in the name of one of RINCON’s companies to
pay off the balance of a mortgage loan in Official E’s name for a residence in the
Southern District of Texas, in exchange for Official E’s assistance in connection

with PDVSA contracts.

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44. On or about May 7, 2010, RINCON caused $135,429 to be
transferred from a bank account in the name of one of RINCON’s companies to an
account in the name of a close personal associate of Official E, but over which
Official E held power of attorney, in exchange for Official E’s assistance in
connection with PDVSA contracts.

45. Onor about June 15, 2010, SHIERA sent Official C an e-mail
containing information about how to open a bank account at a bank in Panama.

46. Onor about June 17, 2010, RINCON helped Official C open a bank
account in the Southern District of Texas, into which bribes were paid.

47. Onor about May 26, 2010, approximately two weeks after PDVSA
issued a $2,648,148.20 purchase order to Shiera Company | on which Official C
was listed as the PDVSA buyer, Shiera Company 1 transferred $300,000 to Shiera
Company 4.

48. Onor about June 23, 2010, SHIERA caused $100,000 to be
transferred from a bank account in the name of Shiera Company 4 to Official C’s
bank account in the Southern District of Texas in exchange for Official C’s
assistance in connection with PDVSA contracts.

49. On or about September 23, 2010, RINCON caused $100,000 to be

transferred from a bank account in the name of Rincon Company 4 to Official C’s

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bank account in the Southern District of Texas in exchange for Official C’s
assistance in connection with PDVSA contracts.

50. On or about October 18, 2010, approximately two weeks after
PDVSA sent a wire transfer to Shiera Company 1 in the amount of $5,545,560.01,
SHIERA caused $25,000 to be transferred from a bank account in the name of
Shiera Company 4 to Official C’s bank account in the Southern District of Texas in
exchange for Official C’s assistance in connection with PDVSA contracts.

51. On or about January 28, 2011, SHIERA caused $15,000 to be
transferred from a bank account in Panama in the name of Shiera Company 5 into a
bank account in the Southern District of Texas held jointly in the name of Official
E and arelative, in exchange for Official E’s assistance in connection with PDVSA
contracts.

52. Onor about June 6, 2011, SHIERA caused $15,000 to be transferred
from a bank account in Panama in the name of Shiera Company 5 into a bank
account in the Southern District of Texas held jointly in the name of Official E and
a relative, in exchange for Official E’s assistance in connection with PDVSA
contracts.

53. Onor about August 5, 2011, approximately ten days after PDVSA
issued a $7,729,756.78 purchase order to Rincon Company 3 on which Official C

was listed as the buyer, Rincon Company 2 sent a sales order to Rincon Company

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3 to provide Rincon Company 3 with substantially the same equipment Rincon
Company 3 had agreed to provide to PDVSA in the purchase order referenced
above, for a total price of $7,343,268.93.

54. On or about September 29, 2011, SHIERA sent an e-mail to
Associate 2, stating, as translated into English, “Don’t forget to give me [Official
A’s]| account statement.”

55. Onor about October 27, 2011, Associate 2 sent an e-mail to SHIERA
with the subject line, as translated into English, “Outstanding [commission] for
[Official AJ,” and attaching an Excel spreadsheet listing numerous PDVSA
contracts that had been awarded to SHIERA’s companies between September 1,
2010 to September 30, 2011 by various PDVSA buyers that were supervised by
Official A, and listing, as translated into English, an “Outstanding commission” of
$188,276.61 USD.

56. Onor about December 6, 2011, an associate of SHIERA sent an e-
mail to Associate 2 in which he forwarded a $14,502.29 hotel reservation for
Official D at the Fontainebleau Hotel in Miami Beach, Florida.

57. Onor about January 12, 2012, Associate 2 sent an e-mail to SHIERA
and another associate of SHIERA attaching an invoice for whiskey that had been
given to Official C with a notation, as translated into English, “with AS

[ABRAHAM SHIERA] authorization.”

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58. On or about January 17, 2012, the other associate replied to the e-mail
referenced in Paragraph 57 above, stating, as translated into English, “Man, you
shouldn’t have Abraham’s [SHIERA’s] name in the e-mail address, and do not
mention mine either.”

59. On or about January 18, 2012, SHIERA responded to the e-mail
chain referenced in Paragraph 58 above, stating, as translated into English,
“authorized.”

60. Onor about January 26, 2012, Associate 2 sent an e-mail to SHIERA
and other associates of SHIERA whereby Associate 2 arranged for one of
SHIERA’s companies to cover the cost of a hotel and rental car in Barcelona,
Venezuela for Official D.

61. Onor about January 28, 2012, SHIERA responded to the e-mail
referenced in Paragraph 60 above, and instructed Associate 2 to, as translated into
English, “please do these things outside of accounting.”

62. Onor about February 9, 2012, RINCON sent an e-mail to Official A,
copying SHIERA and Associate 2, stating, as translated into English, “attached
please find the Charge for Abraham’s [SHIERA’s] company,” and directing
Official A to assign the bidding process to Official D.

63. Onor about March 1, 2012, Official C sent an e-mail to RINCON

attaching panel lists for a number of bidding processes that were in the request for

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quotation phase. Three of the proposed panels included Rincon Company 3 and
another Rincon company. Another proposed panel included Shiera Company 2,
Rincon Company 1, Rincon Company 2, and another Rincon company. Another
proposed panel included Rincon Company 2, Rincon Company 3, and another
Rincon company.

64.  Onor about March 22, 2012, SHIERA sent an e-mail to Associate 2
and another associate of SHIERA, copying RINCON, responding to an e-mail
chain about a turbogenerator process, stating that, as translated into English,
“(Rincon Company 1] should win the process. According to what Roberto
approved, the commission to [Shiera Company 1] is 5% of the purchase price.
That is fair. Put this in the Synergy project report. RR [ROBERTO RINCON]
pays the commissions to the allies.”

65. Onor about March 27, 2012, SHIERA sent an e-mail to RINCON
and an associate of SHIERA, copying Associate 2, stating, as translated into
English, “According to what was agreed with Roberto [RINCON], his companies
will excuse themselves from these two processes. From ours, [Shiera Company 1]
wins both.”

66. Onor about March 23, 2012, Official C issued an invoice from a

company Official C co-owned with a relative to RINCON at Rincon Company 2,

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billing $150,000 for purported services that were not actually performed, including
“engineering services on drilling rig GP-20.”

67. On or about April 24, 2012, SHIERA sent an e-mail to Official A,
RINCON, and Associate 2 instructing Official A to “assign” a particular PDVSA
contract to Official D for the assembly of the bid panel and informing Official A
that Shiera Company 3 “wins” the project.

68. Onor about April 27, 2012, RINCON caused $150,000 to be
transferred from Rincon Company 2 to a bank account in the name of a company
that Official C owned with a relative referencing the invoice referenced in
Paragraph 66 above in exchange for Official C’s assistance in connection with
PDVSA contracts.

69. On or about May 7, 2012, Official C e-mailed RINCON, forwarding
a response from his bank that the April 27, 2012 wire transfer referenced in
Paragraph 68 above had not been credited to Official C’s account because the
account number had been incorrect in the wire transfer documentation, and
including the correct wire information.

70. Onor about May 8, 2012, RINCON caused $150,000 to be
transferred from Rincon Company 2 to a bank account in the name of a company

that Official C owned with a relative with the correct wire information contained in

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Paragraph 69 above in exchange for Official C’s assistance in connection with
PDVSA contracts.

71.  Onor about May 17, 2012, Official C sent an e-mail to RINCON and
SHIERA attaching a list of various PDVSA contracts coming up for bid.

72. Onor about June 22, 2012, SHIERA sent an e-mail to Official C,
instructing Official C to assign a particular bidding process to Official D.

73. On or about June 22, 2012, Official C responded to the e-mail
referenced in Paragraph 72 above, stating that Official C had already assigned the
process to Official D, and noting, as translated into English, “I am waiting for you
to send me the additional specifications of that case to submit them.”

74. Onor about November 5, 2012, Rincon Company 3 sent PDVSA an
invoice for partial payment on the purchase order referenced in Paragraph 53
above, based on supplying some of the equipment included in the purchase order.

75. Onor about December 18, 2012, the same day that PDVSA sent
Rincon Company 3 approximately $331,246.01 as payment on two invoices,
Rincon Company 3 sent $314,683.72 to Rincon Company 2.

76. Onor about December 19, 2012, Official C sent RINCON an e-mail
attaching an invoice for $150,000 from a company Official C co-owned with a

relative to RINCON at Rincon Company 2, billing $150,000 for purported

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services that were not actually performed, including “Engineering Services Steem
[sic] Generator Plants.”

77. On or about December 20, 2012, RINCON forwarded the December
19, 2012 invoice referenced in Paragraph 76 above to others at Rincon Company 2,
including Associate 1, stating, as translated into English, “please proceed with the
transfer.”

78. Onor about December 21, 2012, RINCON caused $150,000 to be
transferred from Rincon Company 2’s bank account to a bank account in the name
of a company that Official C owned with a relative in exchange for Official C’s
assistance in connection with PDVSA contracts.

79. On or about February 20, 2013, RINCON sent Official C an e-mail
stating, as translated into English, “send one for US $100,000.00.”

80. On or about February 28, 2013, Official C sent RINCON an e-mail
attaching an invoice for $100,500, noting that the amount was, as translated into
English, “to square away the H/H [hours per person] that I included in the former
invoice.” The invoice was from a company Official C co-owned with a relative to
RINCON at Rincon Company 2 for purported services that were not actually
performed, including “Engineering Services Steem [sic] Generator Plants.”

81. Onor about March 1, 2013, RINCON caused $100,460 to be

transferred from a Panamanian bank account in the name of one of RINCON’s

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companies to a bank account in the name of a company that Official C owned with
a relative in exchange for Official C’s assistance in connection with PDVSA
contracts.

82. Onor about March 26, 2013, Official C sent an e-mail to RINCON,
stating, as translated into English, “Good day, Boss, I’m sending you the personal
information of the passengers,” and providing dates of birth, passport numbers, and
passport expiration dates for Official C, Official C’s wife, Official A, Official B,
and three others for an April trip to Miami, Florida.

83. Onor about January 3, 2014, SHIERA caused $15,000 to be
transferred from a bank account in Panama in the name of Shiera Company 6 into a
bank account in the Southern District of Texas held jointly in the name of Official
E and arelative, in exchange for Official E’s assistance in connection with PDVSA
contracts.

84. On or about January 7, 2014, SHIERA caused $15,000 to be
transferred from a bank account in Panama in the name of Shiera Company 6 into a
bank account in the Southern District of Texas held jointly in the name of Official
E and a relative, in exchange for Official E’s assistance in connection with PDVSA
contracts.

All in violation of Title 18, United States Code, Section 371.

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COUNTS TWO — FIVE
(Foreign Corrupt Practices Act — 15 U.S.C. § 78dd-2; 18 U.S.C. § 2)

85. Paragraphs | through 23 and 25 through 84 are realleged and
incorporated by reference as though fully set forth herein.
86. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendant,

ROBERTO ENRIQUE RINCON FERNANDEZ,
being a domestic concern and an officer, director, employee, agent, and
shareholder of a domestic concern, and by aiding and abetting a domestic concern,
did willfully use and cause to be used the mails and means and instrumentalities of
interstate commerce corruptly in furtherance of an offer, payment, promise to pay,
and authorization of the payment of money, offer, gift, promise to give, and
authorization of the giving of anything of value to a foreign official, and to a
person, while knowing that all and a portion of such money and thing of value
would be and had been offered, given, and promised to a foreign official, for
purposes of: (i) influencing acts and decisions of such foreign official in his or her
official capacity; (ii) inducing such foreign official to do and omit to do acts in
violation of the lawful duty of such official; (iii) securing an improper advantage;
and (iv) inducing such foreign official to use his or her influence with a foreign

government and agencies and instrumentalities thereof to affect and influence acts

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and decisions of such government and agencies and instrumentalities, in order to

assist RINCON, SHIERA, and their U.S. companies in obtaining and retaining

business for and with, and directing business to, RINCON, SHIERA, their

companies, and others, as follows:

 

COUNT DATE

BRIBE PAYMENT

 

Two September 23, 2010

$100,000 wire transfer from Rincon Company
4’s bank account in Florida to Official C’s bank
account in the Southern District of Texas.

 

Three April 12, 2011

$200,000 check from RINCON’s bank account
in the Southern District of Texas to a bank
account in Florida in the name of a company
owned by an associate of Official C.

 

Four May 8, 2012

$150,000 wire transfer from Rincon Company
2’s bank account in the Southern District of
Texas to a bank account in New York in the
name of a company co-owned by Official C.

 

Five December 21, 2012

 

 

 

$150,000 wire transfer from Rincon Company
2’s bank account in the Southern District of
Texas to a bank account in Florida in the name
of a company co-owned by Official C.

 

All in violation of Title 15, United States Code, Section 78dd-2, and Title

18, United States Code, Section 2.

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COUNTS SIX — TEN
(Foreign Corrupt Practices Act — 15 U.S.C. § 78dd-2; 18 U.S.C. § 2)

87. Paragraphs 1 through 23 and 25 through 84 are realleged and
incorporated by reference as through fully set forth herein.
88. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendant,

ABRAHAM JOSE SHIERA BASTIDAS,
being a domestic concern and an officer, director, employee, agent, and
shareholder of a domestic concern, and by aiding and abetting a domestic concern,
did willfully use and cause to be used the mails and means and instrumentalities of
interstate commerce corruptly in furtherance of an offer, payment, promise to pay,
and authorization of the payment of money, offer, gift, promise to give, and
authorization of the giving of anything of value to a foreign official, and to a
person, while knowing that all and a portion of such money and thing of value
would be and had been offered, given, and promised to a foreign official, for
purposes of: (i) influencing acts and decisions of such foreign official in his or her
official capacity; (ii) inducing such foreign official to do and omit to do acts in
violation of the lawful duty of such official; (iii) securing an improper advantage;
and (iv) inducing such foreign official to use his or her influence with a foreign

government and agencies and instrumentalities thereof to affect and influence acts

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and decisions of such government and agencies and instrumentalities, in order to

assist RINCON, SHIERA, and their U.S. companies in obtaining and retaining

business for and with, and directing business to, RINCON, SHIERA, their

companies, and others, as follows:

 

COUNT

DATE

BRIBE PAYMENT

 

Six

October 18, 2010

$25,000 wire transfer from Shiera Company 4’s
bank account in Panama to Official C’s bank
account in the Southern District of Texas.

 

Seven

June 6, 2011

$15,000 wire transfer from Shiera Company 5’s
bank account in Panama to a bank account in the
Southern District of Texas held jointly by
Official E and a relative.

 

Eight

August 6, 2012

$120,000 wire transfer from Shiera Company 6’s
bank account in Panama to a bank account in
Florida in the name of a company Official C co-
owned with a relative.

 

Nine

January 3, 2014

$15,000 wire transfer from Shiera Company 6’s
bank account in Panama to a bank account in the
Southern District of Texas held jointly by
Official E and a relative.

 

 

Ten

 

January 7, 2014

 

$15,000 wire transfer from Shiera Company 6’s
bank account in Panama to a bank account in the
Southern District of Texas held jointly by
Official E and a relative.

 

All in violation of Title 15, United States Code, Section 78dd-2, and Title

18, United States Code, Section 2.

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COUNT ELEVEN
(Conspiracy to Commit Money Laundering — 18 U.S.C. § 1956(h))

89. Paragraphs 1 through 23 and 25 through 84 are realleged and
incorporated by reference as though fully set forth herein.
90. From in or around 2009, and continuing through at least 2014, in the

Southern District of Texas and elsewhere, the defendants,

ROBERTO ENRIQUE RINCON FERNANDEZ
and
ABRAHAM JOSE SHIERA BASTIDAS,

did knowingly conspire, confederate, and agree with each other and others known
and unknown to the Grand Jury, to commit offenses under Title 18, United States
Code, Sections 1956 and 1957, namely:

a. knowing that the property involved in a financial transaction represented
the proceeds of some form of unlawful activity, to conduct or attempt to
conduct such a financial transaction which in fact represented the
proceeds of specified unlawful activity, knowing that the transaction is
designed in whole and in part to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of
specified unlawful activity, namely, bribery of a foreign official, a felony

violation of the FCPA, Title 15, United States Code, Sections 78dd-2 and

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78dd-3, and wire fraud, Title 18, United States Code, Section 1343, in
violation of Title 18, United States Code, Section 1956(a)(1)(B); and

b. to engage in a monetary transaction by, through and to a financial
institution, in and affecting interstate and international commerce, in
criminally derived property that was of a value greater than $10,000.00,
that is, the deposit, withdrawal, transfer and exchange of United States
currency, funds and monetary instruments, such property having been
derived from specified unlawful activity, namely, bribery of a foreign
official, a felony violation of the FCPA, Title 15, United States Code,
Sections 78dd-2 and 78dd-3, and wire fraud, Title 18, United States
Code, Section 1343, in violation of Title 18, United States Code, Section
1957.

Manner and Means of the Conspiracy

91. The manner and means by which RINCON, SHIERA, and their co-
conspirators sought to accomplish the purpose of the conspiracy included, among
other things, the following, while in the Southern District of Texas and elsewhere:

92. RINCON and SHIERA, together with others, procured illegal
proceeds from PDVSA by securing lucrative energy contracts from PDVSA
through corrupt and fraudulent means, including by paying bribes to PDVSA

officials.

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93. RINCON and SHIERA, together with others, assisted certain
PDVSA officials in opening bank accounts, including bank accounts outside of
Venezuela, for the PDVSA officials to receive bribe payments.

94. RINCON and SHIERA, together with others, engaged in monetary
transactions among their various companies designed to conceal the nature, source,
and ownership of the proceeds of the specified unlawful activity.

95. RINCON and SHIERA, together with others, transferred money
among and between the bank accounts of their respective companies in order to
conceal the nature, source, and ownership of bribe payments to PDVSA officials.

96. RINCON and SHIERA, together with others, created false
justifications for certain of the bribes, including invoices for services that were
never performed, for the purpose of concealing and disguising the nature, source,
and ownership of those bribe payments, which they referred to as “commissions.”

97. RINCON and SHIERA, together with others, directed the wire
transfer of, and caused to be wired, bribe payments from bank accounts which
were frequently in the name of companies other than the companies being awarded
PDVSA contracts, for the purpose of concealing and disguising the nature, source,
and ownership of the bribe payments.

98. RINCON and SHIERA, together with others, directed bribe

payments to be sent to various recipients other than the intended PDVSA officials,

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including companies, relatives, friends, and close personal associates of the
PDVSA officials, for the purpose of concealing and disguising the nature, source,

and ownership of the bribe payments.

99. RINCON and SHIERA, together with others, engaged in monetary
transactions of a value greater than $10,000 using money procured through the

corrupt and fraudulent scheme.

All in violation of Title 18, United States Code, Section 1956(h).

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COUNTS TWELVE — FOURTEEN
(Money Laundering — 18 U.S.C. § 1956(a)(1)(B)(i); 18 U.S.C. § 2)

100. Paragraphs 1| through 23, 25 through 84, and 91 through 99 are
realleged and incorporated by reference as though fully set forth herein.
101. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendants,

ROBERTO ENRIQUE RINCON FERNANDEZ
and
ABRAHAM JOSE SHIERA BASTIDAS,

did knowingly conduct, and aid, abet, and cause others to conduct, and attempt to
conduct, the following financial transactions affecting interstate and foreign
commerce, which transactions involved the proceeds of specified unlawful activity,
knowing that the property involved in the financial transactions represented the
proceeds of some form of unlawful activity, and that the financial transactions
were designed, in whole and in part, to conceal and disguise the nature, the
location, the source, the ownership, and the control of the proceeds of said
specified unlawful activity, that is, a felony violation of the FCPA, Title 15, United
States Code, Sections 78dd-2 and 78dd-3, and wire fraud, Title 18, United States

Code, Section 1343, as follows:

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COUNT DATE MONETARY TRANSACTION

 

Twelve October 20, 2011 | $5,700,800 wire transfer from Shiera
Company 2’s bank account in Florida to
Rincon Company 2’s bank account in the
Southern District of Texas.

 

Thirteen November 4, 2011 | $1,353,954.25 wire transfer from Shiera
Company 2’s bank account in Florida to
Rincon Company 2’s bank account in the
Southern District of Texas.

 

Fourteen January 17,2012 | $1,479,716.03 wire transfer from Shiera
Company 2’s bank account in Florida to
Rincon Company 2’s bank account in the
Southern District of Texas.

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1956(a)(1)(B)()

and 2.

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COUNTS FIFTEEN — EIGHTEEN
(Money Laundering — 18 U.S.C. § 1957; 18 U.S.C. § 2)

102. Paragraphs 1 through 23, 25 through 84, and 91 through 99 are
realleged and incorporated by reference as though fully set forth herein.
103. On or about the dates set forth below, in the Southern District of

Texas and elsewhere, the defendants,

ROBERTO ENRIQUE RINCON FERNANDEZ
and
ABRAHAM JOSE SHIERA BASTIDAS,

did knowingly engage, and aid, abet, and cause others to engage, and attempt to
engage in the following monetary transactions, by, through, and to a financial
institution, affecting interstate and foreign commerce, to wit: the deposit,
withdrawal, transfer and exchange of United States currency, funds and monetary
instruments, in criminally derived property of a value greater than $10,000, such
property having been derived from specified unlawful activity, that is, a felony
violation of the FCPA, Title 15, United States Code, Sections 78dd-2 and 78dd-3,

and wire fraud, Title 18, United States Code, Section 1343, as follows:

 

COUNT DATE MONETARY TRANSACTION

 

Fifteen May 23, 2011 $4,962,000 wire transfer from Rincon
Company 1’s bank account in the Southern
District of Texas to a bank account in
Switzerland in the name of Company
Accountholder A.

 

 

 

 

 

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COUNT DATE MONETARY TRANSACTION |

 

Sixteen May 24, 2011 $15,000,000 wire transfer from Rincon
Company 1’s bank account in the Southern
District of Texas to a bank account in
Switzerland in the name of Company
Accountholder B.

 

Seventeen June 17, 2011 $2,428,005 wire transfer from Rincon
Company 1’s bank account in the Southern
District of Texas to a bank account in

Switzerland in the name of Company
Accountholder A.

 

 

Eighteen January 17,2012 | $3,097,527 wire transfer from Shiera
Company 2’s bank account in Florida to a
bank account in Switzerland in the name of
Company Accountholder C.

 

 

 

All in violation of Title 18, United States Code, Sections 1957 and 2.

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NOTICE OF CRIMINAL FORFEITURE
(28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1)(C)

104. Pursuant to Title 28, United States Code, Section 2461(c) and Title
18, United States Code, Section 981(a)(1)(C), the United States gives notice to the

defendants,

ROBERTO ENRIQUE RINCON FERNANDEZ
and
ABRAHAM JOSE SHIERA BASTIDAS,
that in the event of conviction of any of the offenses charged in Counts 1 through 10

of this Indictment, the United States intends to seek forfeiture of all property, real or

personal, which constitutes or is derived from proceeds traceable to such offenses.

NOTICE OF FORFEITURE
(18 U.S.C. § 982(a)(1))

105. Pursuant to Title 18, United States Code, Section 982(a)(1), the

United States gives notice to the defendants,

ROBERTO ENRIQUE RINCON FERNANDEZ
and
ABRAHAM JOSE SHIERA BASTIDAS,
that upon conviction of any of the offenses charged in Counts 11 through 18 of this

Indictment, all property, real or personal, involved in money laundering offenses or

traceable to such property, is subject to forfeiture.

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Property Subject to Forfeiture

106. Defendants are notified that the property subject to forfeiture includes,
but is not limited to, the following property:

a. Bank Account of Company Accountholder A at Credit Suisse in
Switzerland, with an account number ending in 6032;

b. Bank Account of Company Accountholder B at Credit Suisse in
Switzerland, with an account number ending in 9852;

c. Bank Account of Company Accountholder C at Credit Suisse in
Switzerland, with an account number ending in 2004; and

d. Sunseeker Manhattan 73 Motor Yacht, Serial Number GB-XSK 05811

J213, co-owned by SHIERA.

Money Judgment

107. Defendants are notified that upon conviction, a money judgment may
be imposed equal to the total value of the property subject to forfeiture, for which

the defendants may be jointly and severally liable.

Substitute Asset Provision

108. Defendants are notified that in the event that property subject to
forfeiture, as a result of any act or omission of defendants,

a. Cannot be located upon the exercise of due diligence;

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b. Has been transferred or sold to, or deposited with, a third person;

c. Has been placed beyond the jurisdiction of the Court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property which cannot be subdivided

without difficulty;

it is the intent of the United States to seek forfeiture of any other property of the
defendants up to the total value of such property pursuant to Title 21, United States
Code, Section 853(p), incorporated by reference in Title 28, United States Code,

Section 2461(c) and Title 18, United States Code, Section 982(b)(1).

A TRUE BILL A
ORIGINAL SIGNATURE ON FILE

 

 

FOREPERSON
KENNETH MAGIDSON ANDREW WEISSMANN
UNITED STATES ATTORNEY CHIEF, FRAUD SECTION
CRIMINAL DIVISION
DEPARTMENT OF JUSTICE
. J
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HN P. PEARSON AISLING O’SHEA
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ASSISTANT UNITED STATES
ATTORNEY

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